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 5
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 6   REGINALD THOMAS
 7
                                    UNITED STATES DISTRICT COURT
 8
                                  EASTERN DISTRICT OF CALIFORNIA
 9
                                          SACRAMENTO DIVISION
10

11   UNITED STATES OF AMERICA,                 )                  NO. 2:11-cr-00216-MCE-2
                                               )
12         Plaintiff,                          )                  STIPULATION AND ORDER
                                               )                  TO CONTINUE SENTENCING
13   vs.                                       )
                                               )
14   REGINALD THOMAS,                          )
                                               )
15         Defendant.                          )
     __________________________________________)
16

17          Defendant REGINALD THOMAS, by and through his attorney, Colin Cooper, the UNITED
18   STATES, by and through Assistant United States Attorney Matthew Morris, hereby stipulate and
19   agree to continue the sentencing in the above-captioned case set for May 1, 2014 to August 14,
20   2014, at 9:00 a.m.
21          The parties further stipulate and agree that the period from May 1, 2014 to August 14, 2014,
22
     is excludable from calculation under the Speedy Trial Act pursuant to 18 U.S.C. §3161 (h)(7)(iv)
23
     for the effective preparation of counsel.
24
            The requested continuance is not based on congestion of the Court’s calendar, lack of
25

26   diligent preparation on the part of the attorney for the government or the defense, or failure on the

27   part of the attorney for the government to obtain available witnesses. Under 18 U.S.C. Section
28
     3161(h)(7)(B)(iv) and local code T4, the delay results from a continuance granted by the Court at



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 1   the defendant’s request, with the agreement of the government, on the basis of the Court’s finding
 2
     that: (i) the delay will allow defense counsel reasonable time to prepare; and (ii) the ends of justice
 3
     served by the continuance outweigh the best interest of the public and defendant in a speedy trial.
 4

 5
     See Bloate v. United States, 130 S. Ct. 1345, 1357-58 (2011).

 6

 7   DATED: April 25, 2014                                /s/ COLIN L. COOPER
 8
                                                   Attorney for Defendant REGINALD THOMAS

 9

10
     DATED: April 25, 2014                                /s/ MATTHEW MORRIS
11                                                 Assistant United States Attorney

12

13
                                                    ORDER
14
            GOOD CAUSE APPEARING, in that it is the stipulation of the parties: IT IS HEREBY
15
     ORDERED that the sentencing scheduled for May 1, 2014, at 9:00 a.m. is vacated and the matter is
16

17   set for sentencing on August 14, 2014, at 9:00 a.m., and that the period from May 1, 2014 to August

18   14, 2014, is excludable from calculation under the Speedy Trial Act pursuant to 18 U.S.C.
19
     §3161(h)(7)(B)(iv).
20
            IT IS SO ORDERED.
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     Dated: April 29, 2014

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